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_ Answers to Commonly Asked Questions
About the WealthBuilder Account

What are the eligibility requirements for having a WeaithBuilder
Account?

You must have eligible compensation of $250,000 or more: attained the title of
Vice President or above: and be in the Chairman's Club or above. Other criteria
may apply; please see the Plan Document for details.

How does my WealthBuilder Account work?

If you are cligible to have a WealthBuilder Account, all supplemental Awards

that you have earned in the WealthBuilder Program have been credited to this
account.Awards ate credited in a dollar-denominated value. You may select fom
the available benchmark funds and cash equivalent funds to carn returns (which
may be positive or negative) as if your Awards had been invested, at net asset
yaine (NAV), in Class A shares of the benchmark funds. All Awards are initially
benchmarked against Ready Assets Trust, but you may immediately
allocate your account to one or more of the other available indexes.

Does this change how the Financial Co asuitant Capital Accumulation
Award Plan (FCCAAP) Account works?

No.’ The operation of the FCCAAP Account is unaffected by the creation of the
WealthBuilder Account.

Wall f own shares of the mutual funds 1 select?

No. For tax reasons, you do not own the selected benchmark funds. As long as
you have an Account Balance in this plan, you will be an unsecured general
creditor of Merrill Lynch (same status as FOCAAP).

How often can I change my Merrill Lynch find allocations?

You may change your selections as many as 12 times per calendar year, among
any of the available benchmark funds, and may reallocate in any whole percent-
age increments. You may change your selections by calling (800) MER-40 Lk.

Who administers the WealihBuilder Account?

Benefits & Tavestment Solutions (BIS) will administer your WeaithBuilder
Account. You will receive a letter from them assigning you a “PIN” aumber that
enables you to access your account. if you already have a"“PEN" assigned by BE,
that “PIN” will also allow you to access your WealthBuilder Account. You can call
BIS at (800) MER-4F01k,

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What happens to my Awards if I do not select benchmark funds?

Your Awards will remain benchmarked against ML Ready Assets Trust.

How often will i receive WealthBuilder statements?

You will receive statements quarterly from BIS in addition fo confirmations of
any reallocations you choose to make.

When does the WealthBuilder Account become vested?

Vesting generally occurs when you become eligible for retirement. A Financial
Advisor (FA) is eligible to retire at age 55,45 long as he or she also has at least
10 years of service with Merrill Lyach, or at age 65 with no length of service
requirement, However, if you terminate prior to age 55 and have 20 years of
service, you will be treated as having retired and become vested. Your balance,
however, will be reduced by 1% for each year, or part thereof, prior to your 55th
birthday, and payment will begin after your 55th birthday. If you terminate prior
to vesting, your entire Account Balice is forfeited.

When do I receive the monies in the Account?

Under current procedures you will receive 50% of your Account Balance the
Fanuary following retirement, with the remaining 50% to be paid the following
January. If you have earned an award after your retirement, 50% of the award
will be paid when awards are credited, with the remaining balance to be paid
the following January.

Ace taxes withheld when the award is paid?

Yes. Federal, state and local taxes are withheld upon payment of the Award, based
on the valnation of the Account Balance on the payment date. Medicare and,
where applicable, OASDI are withheld from each Award upon vesting.

What happens if I transfer out of production or if 1am no longer eligible
for WealthBuilder?

Your Account Balance will continue to carn returns based upon your selected
benchmark funds and be paid to you in two annual installments at retirement.
You will not receive any additional Awards unless you transfer to another cligible
population.

 
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if l were “vested” in my Account Balance but leave Merrill Lynch for the
competition, do I take a portion of my WealthBuilder Account Balance
with me?

No. Under the WealthBuilder Account Plan, participants who compete with
ML & Co. within two years after termination forfeit any remaining balance in
their WealthBuilder Account. This noncompete provision is fully described in
the WealthBuilder Account Plan document.

Can I assign the right to receive the WealchBuiider Award?

No. You are not entitled to the Award until it is vested, and even then it is subject
to forteiture if you go to work for the competition. Under the terms of the Plan,
rights under WealthBuilder cannot be assigned and carmnot become subject to
qualified Domestic Relations Orders or other such arrangements.

What happens to my Account Balance in the event of my death?

The Accouat Balance will be paid to your Beneficiary. If no Beneficiary has been
named, the Account Balance will be paid to your estate.

Is uxy Designation of Beneficiary the sare as my Beneficiary for my life
insurance?

No. You must complete the WeaithBuilder section of Designation of Beneficiary,
available on the Advisory Division Web site. lf you do not have access to the
Advisory Division Web site, please cali (609) 282-1759 and request a hard copy
of the Designation of Beneficiary.

What should I do if I want to change my Beneficiary?

You must complete the Designation of Beneficiary, available on the Advisory
Division Web Site. If you do not have access to the Advisory Division Web site,
please call (609) 282-1759 and request 2 hard copy. You may also change prior
designations by completing this form.

How do i find owt more information about this program?

‘Talk with your Resident Vice President (RVP) or call Private Client Compensation
at (G09) 282-5654,

Note: All terms and conditions of WealthBuilder ace governed by the m
Plan documem. However, these questions simply attempt to
explain certain features of WealthBuilder.

 

 
 

WEALTHBUILDER BENCHMARK FUNDS WORKSHEET

initially your award will be benchmarked against ML Ready Assets Trust. You fRehy
subsequenily allocate your WealtbBuilder Award against the available benchmark finds,
You may make pour allocations in 10% increments and change these allocations up to
12 times per year I should be nated that these benchmark funds are subject to charge
Quer frre.

To make your allocation and obtain a current Listing of available
benchmark funds, please call BIS at (800) MER-401k.

Before deciding which benchmack fonds to select, vou should read the prospectuses for the
funds. Yo obtain prospectuses, please call Busiaess Financial Services at (8003 MER-401k or
for international emplovees, (732) 563-7301.

 

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FOR A SELECT GROUP OF ELIGIBLE EMPLOYEES
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WEALTHBUILDER ACCOUNT PLAN
FOR A SELECT GROUP OF ELIGIBLE EMPLOYEES

ARTICLE I
Name, Purpose, and Effective Date

The name of the Plan is the WeaithBuilder Account Plan for a Select Group of Eligible
Emiplovees.

The Plan, established under the WealthBuilder Program as in effect from time to time,
is intended to be unfunded and maintained primarily for the purpose of providing deferred
compensation for the members of a select group of management or highly compensated
employees, within the meaning of Title I of ERISA. who remain in the employ of the Company
unti retirement or compiction of a substantial period of service as specified in this Plan_Ail
decisions conceering who is to be considered a member of that select group and how the
Plan is t be administered and interpreted shall be consistent with this intention,

The Phin is effective commencing January 1, 1994, and each year thereafter, unless
terminated in accordance with Section 10.1 hereof.

ARTICLE If
Pehnitions

Unless otherwise required by the context, cach of the following terms shall have the
meaning indicated for that term:

“Accouné” means a Participant's account established under Article FV to which all cred-
its and debits are made with respect to the individual's Anoual Awards credited bereunder.

‘Account Balance” means, as of any date, the Annual Awards credited to a Participant’s
Account adjusted in accordance with Section 5.2 to reflect the performance of the
Participant's Selected Benchmark Return Options, adjustments made as a result of any
Capital Call Default and the Debit Balance and any payments made from the Account prior
ta that chte.

Administrator” means the Head of Hunn Resources of ML & Co., or bis or her
functional successor.

“Affiliate” means any corporation partnership, or other organization of which ML & Co.
owns or Controls, directly or indirectly, not fess than 50% of the total combined voting
power of all classes of stock or other equity interest.

‘Annual Award” means an annual award determined under the Program for credit to a
Participant’s Account,

Applicable Federal Rate” means the applicable federdl rate for short-term (0-3 years)
obligations of the United States treasury established in January of cach year

‘Available Batance* means amounts in a Participant’s Account that are indexed to
Benchmark Return Options with daily liquidity after all Capital Calls with respect to ML
Ventures have been completed aud an Account’s Debit Balance. if any, has been reduced to
ZeETO,

Average Leveraged Principal Amount” means, for cach Participaixt, for any period, the
sum of the Leveraged Principal Amounts outstanding at the end of each day in the period
divided by the number of days in such period.

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“Benchmark Return Options” means such investment vehicles as the Administrator
nay from time to time designate for the purpose of indexing Accounts hereunder. In the
event a Benchmark Return Option ceases to exist or is no longer to be a Benchmark Return
Option, the Administrator may designate a substitute Benchmark Return Opticn for such
discontinued option.

“Beneficiary” means any person(s) or entityaes) designated as such in accordance with
Article DX.

“Board of Directors means the Board of Directors of ME & Co.

“Capital Call” means the periodic demands for funds from a Participant's Account that
will be equal to and occur simultaneously with capital calls made by [private equity flinds
Gnchiding ML Ventures} chasen by the Participant].

“Capital Call Defarit” means the result of there being an insufficient Liquid Balance in
the Participant’s Account to fund a Capital Call,

“Capital Demand Default Adjustment” means the negative adjustment described in
Section 5.4 in the number of “units” Gneluding units acquired by “Leverage"} attributed to a
private equity Benchmark Return Option thar will be the consequence under the Plan of a
Capital Call Default.

“Cash Compensation’ means base salary plus Adjusted Compensation paid in a
particular year, plus any cash bonus paid in the particular year for the immediately prior
yeurs performance, such as a Household Incentive Program awards, but does aot include
payments nde under the Investment Certificate Program.

“Code” means the Internal Revenue Code of 1986, as amended from time to time.
“Company” means ML & Co. and all of its Affiliates.

“Debit Balance” means, as of any date, the doflar amount, if any, representing any
Leveraged Principal Amount (together with any pro rata Interest Amounts determined in
accordance with Section 5.4(¢), if applicable), as reduced by any distributions recorded,
from ML Ventures Units recorded in a Participant’s Acconat.

“Disability” means a physical or mental impairment of a Participant which, during the
first six months thereof, counts towards the individual’s satisfaction of the waiting period
under the ME & Co. Basic Long Term Disability Plan, as amended from time to time, and
which thereafter entitles the individual to receive benefits under that plan.

“Flivible Compensation” tor a given year means base catning for the performance year
to which an award relates, Adjusted Compensation earned in the performance year and
cash incentive compensation paid in the award year, including OMICP houschold incentive
bonus and premier incentive compensation and/or managers money fund.

“Eligible Hmployee” means, for a given year an Employee who (a) mects the criteria
outlined in Section 3.1(4) and is paid from the Company’s domestic based payroli (but is
not a U.S. citizen or “green card” holder who is employed outside the United States).

“Employee” saeans a Financial Advisor Gncluding a resident manager or producing man-
ager), or any other employee group that the Administrator, in his or her sole discretion,
determines are ermployces for purposes of eligibility for Annual Awards under the Plan.

An individual who heid such position during a Plan Year but who transfers to another posi-
tion within the Company shall continue to be an Employee with respect to such Phin Year
as long as his or her employment with the Company continues, No individual who would
otherwise be eligible for an Annual Award but who is not an employee of the Company at
the dare of grant shail be entitled to an Annual Award under the Plan unicss such individ
ual’s employment was terminated as a result of death, Disability or Qualfyiag Termination.

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“ERISA” means the Employee Reticoment Income Security Act of 1974, as amended
from time to time.

“Fiscal Quarter” means the quarterly period used by ML & Co. for financial accounting
purposes.

“Fiscal Year” for a given Plan Year means the annual period used by ML & Co. for
financial accounting purposes that ends with or prior to December 31 of that Plan Year.

“Initial Leveraged Amount” ecaris the initial dollar amount by which a Participant's
deferral into ML Ventures Units is leveraged as determined in accordance with Section
5.4(c).

“Lterest” racans the hypothetical interest accruing on a Participant’s Average Leveraged
Principal Amount at the Applicable Federal Rate.

“fnierest Amounts” means, for any Participant, as of any date, the amount of Interest
that has accrued to such cate on such Participant's Average Leveraged Principal Amount,
from the date on which a Participant’s Leveraged Principal Amount is established, or from
the most recent date that Interest Amounts were added to the Leveraged Principal Amount.

“AML Ventures Return Option” oveans, for eligible Participants, the option of indexing
returns hereunder to the performance of a ML Ventures limited partnership, on a leveraged
of unleveraged basis. Participants will be eligible to choose the ML Ventures Return Option
only if. they received Cash Compensation of at least $200,000 in cach of 1999 and 1998, —

“ML Ventures Units” means the record-keeping units credited to the Accounts of
Participants who have chosen the ML Ventures Return Option,

“Leveraged or Unleveraged Distribitions” meaas the distributions to a Participant’s
Account attributable to the leveraged or unleveraged portion (as the case may be) of a
Participant’s ML Ventures Units,

“Leverage-Hligible Pariicipants” means persons who (1) are accredited investors
within the meaning of the Securities Act of 1933, and (2) received Cash Compensation of
at least $250,000 in 1999, and (3) received Cash Compensation of at least $200,000 in 1998
and otherwise qualify, in accordance with standards determined by the Administrator, to
select a ME Ventures Return Option on a leverage basis.

“Leveraged Principal Aimount” means a Participant’s Initial Leveraged Amount. if anny, 25
adjusted to reflect the addition of Toterest Amounts (or amy pro cata Interest Amounts).

“Liquid Baleice” oeans, as of any date, the Deferred Amounts credited to a
Participant's Account, adjusted Ccither up or down) to reflect: (19 the performance of the
Participant's Mutual Fond Return Balances as provided in Section 3.4¢f: (2) distributions
with respect to Mi. Ventures Usits made in accordance with Section 5.4(d): (3) reduction
ofany Debit Balance as provided in Section 3.4(c) to zero; and (4) any payments to the
Participant under Article VI hereof.

“HE & Co” means Merrill Lynch & Co., Inc.
“MLPPES" means Merrill Lynch, Pleree, Fenner & Smith Incorporated.

“Mutual Pund Return Options’ mcans the mutual funds chosen as Benchmark Return
Options by the Administrator.

“Aduisory Division Management’ means the ippropriate members of management of
the domestic Advisory Division of MLPF&S or its functional suecessor.

“Net Asset Valite” means, with respect to each Benchmark Return Option that is a
mutual fund or other commingled investment vehicle for which such values are determined
in the normal course of business, the net asset value, on the date in question, of the
Selected Benchmark Retutn Option for which the value is to be determined.

 
“Participant” for a given Plan Year means an Hligible Employee who has satisfied the
criteria set forth in Article IH for receiving an allocation to his or her Account.

"Plan" means this WealthBuilder Account Piin for a Select Group of Eligible Employees.

“Private Fund Retura Option(s)” means one or more private funds that are chosen by
the Administrator to be offered-—with such limitations as may be required—to eligible
Participants as Benchmark Return Options.

"Private Fusd Unit(s)" means the record-keeping units credited to the Accounts of
Participants who have chosen one or more Private Fund Return Options.

“Program” means the WealtbBuilder Program of which this Plan is a part.

“Qualification Year” means the calendar year immediately preceding the year for
which the eligibility determination is being made.

"‘OGualifping Termination” means termination of employment with the Company for
reasoas other than for cause:

Gon or after an individual's 65th birthday; or
GQ on or after an imdividual’s 55th birthday with at least. 10 Years of Service: or
Gii) at any age, but only after at least 20 Years of Service, or

Gv) at any age regardless of the number of Years of Service, but only with the
cxpress approval of the Administrator, which may be granted subject to what
evet conditions Gneluding reductions in the Participant’s Account Balance) and
restrictions the Administrator may impose and only if the termination is found
by the Administrator to be in, or not contrary to, the best intcrests of the
Company.

“Selected Benchmark Return Option’ means a Benchmark Return Option selected by
the Participant in accordance with Section 5.1.

“Years of Service” means the number of “years of service’ refleeted on the records of
the Company for purposes of determining the Participant's rights under the Merrill Lynch
& Co., Inc, Retirement Accumulation Plan.

ARTICLE OI
Participation.
3.1 Participation

(a} General Rule. An cligible employee will be a Participant in any year only if he or
she (2D has more than $250,000 of Eligible Compensation in both the Qualification Year and
the year in which the award is mace, (i) has attained at least the title of Vice President or
holds 4 Advisory Division Management position with the Company (a “Advisory Manager”),

(b) Newly Employed Individuals. Subject to the approval of the Administrator in his
ot her sole discretion, an Eligible Employee who is newly employed by the Company can
be a Participant if his or her Eligible Compensation is greater than $230,000 [and he or she
is either employed as au Advisory Division Manager or is to be nominated for at least the title
of Vice President at the first opportunity following the individuals commencement of
employment with the Company}

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ARTICLE IV
Awards
4.1 Amount of Awards

Atbual Awards under this Plan shali be made only to Eligible Employees who are
employed by the Corporation on the date that Awards are to be credited to the Participant's
Account. The amount of each Participant's Award im any given year shall be deternyined in
accordance with the Program.

4.2 Crediting of Accounts

A Participant's Award shall be credited to the Participant’s Account as soon as practica-
ble after the last day of the prior Fiscal Year.

ARTICLE V
Benchmark Return Options; Adjustment of Accounts

5.1 Election Limitations

A Participant omust choose one or more Benchmark Return Options and the percentage
of the Participant's Account to be adjusted to reflect the performance of each Selected
Benchmark Return Option, provided, that if for any reason the Participant does not
effectively designate Benchmark Return Options with respect to his or her entire Account,
until such time as an effective description is provided, the Participant's Sclected Benchmark
Return Option shall be the default Benchmark Return Option specified by the
Administrator. Aji elections of Selected Benchmark Return Options shall be in multiples
of 1%. A Participant may, by complying with such procedure as the Administrator nly
prescribe on a uniform and nondiscriminatory basis, inchiding procedures specifying the.
frequency with respect to which such changes may be effecred (but not more than tweive
times in any calendar year), change the Selected Benchmark Return Options to be applica-
ble with respect to his or her Account.

5.2 Return Option; Adjustment of Accounts

(a) Selection of ML Ventures Return Option or Private Fund Retra O ptions,
in atry year that a ML Ventures partnership [or other Private Fund partnership is offered}
cligible Participants may select the ML Ventures Recurn Option Cand designate any Leverage
Percentage) or select a Private Fund Return Option. Participants should be aware that
(1) once the closing of the relevant fund has occurred, Participanis will not be
able to alter their elections; and (2) that Payments of a Participaat’s Account
Balance on Retirement may be delayed by the selection of ML Ventures.
Participants should also be aware that in the event of a Capital Call Defanit, for
certain private equity funds, Inchuding ML Ventures, they may be penalized by
having thelr Accounts adjusted downward in accordance with Section 5.4(03.

(b) Selection of Mutual Fund Return Options. Coincident with the Participant’s
‘election to defer Compensation, the Participant must select the percentage of the
Participant’s Account to be adjusted ta reflect the performance of Mutual Fund Return
Opuons, for use wher a Participant's Account has a Liquid Balance. AHL clections shalt be in
multiples of 14.A Participant may, by complying with such procedures as the Adnainistrator
may prescribe on a uniform and nondiscriminatory basis, inchuding proceedures specifying
the frequency with respect te which such changes may be effected (bur not more than
32 times in any calendar year), change the Selected Beachmurk Return Options to be
applicable with respect to his or her Account.

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(c) Selection of the ML Ventures Leverage Percentage by Eligible Participants.
Prior to the closing of the offering of a ML Ventures patinership, Leverage-Hligible
Participants who select the ML Ventures Return Option on a leveraged basis must choose
their Leverage Percentage, in accordance with standards determined by the Administrator,
by submitting such forms as the Administrator shall prescribe. Prior to the closing of a ME
Ventures partnership, the Administrator will determine each Leverage-Eligible Participant's
Initial Leveraged Amount by applying such Participant's Leverage Percentage to the dollar
value of the portion of the Participant’s Account Balance allocated to the ML Ventures
Retuen Option. The Initia! Leveraged Amount will be recorded as the Leveraged Principal
Amount, to which amount Interest Amounts will be added annually in accordance with
Section 5.4¢e).

(d) Adjustments of ML Ventures and other Private Fund Return Options.

@ Whenever a distribution is paid on an actaal unit of a ML Ventures partnership
or other similar private fund return option, an amount equal to such per unit
distribution times the number of units in the Participant’s Account will first be
applied against any Debit Rakance, as provided in Section 5.4¢(e), and then, if
any portion of such distribution remains after the Debit Balance is reduced to
zero, be credited to the Participant's Account to be indexed to the Mutual Fond
Return Option(s) chosen by the Participant.

(ii) In the event of a Capital Call Default. a Participant’s investment in the relevant
fund will be capped. If this occurs, the number of units represented by the
return option (inchiding, in the case of ML Ventures, any leveraged units) wl
be adjusted downward to reflect a smaller investment and resulting lower
leverage.

(e) Adjustment of Debit Balance. Any Debit Balanee shall be tecluced as soon as
possible any distributions relating to ML Ventures Units. Reductions of the Debit Balance,
as provided in the foregoing sentence, shail be applied first to reduce the Debit Balance
attributable to accrued Annual Charges and then, after all such accrued Annual Charges
rave been satisfied, to reduce any Leveraged Principal Amount. As of the last day of cach
Fiscal Year, Interest Amounts computed by the Administrator shalt be actded to the
Leveraged Principal Amount. If on any date the Leveraged Principal Amount would be
discharged completely as a result of distributions or chargeoffs, bucrest Amounts will be
computed though such date and added to the Leveraged Principal Amount 2s of such date.

(f) Adjustment of Mutual Fund Return Balances. While cach Participant’s Account
does not represent the Participant's ownership of, or any ownership interest in, any
particular assets, the Account shall be adjusted to reflect the investment experience of the
Participant’s Selected Benchmark Return Options in the same manner as if investments in
accordance with the Participant's ciections had actually been made through the ML Benefit
Services Platform and ML Tl Core Recordkeeping System, or any successor system used for
keeping records of Participants’ Accounts (the “ML Tf System”). In adjusting Accounts, the
timing of receipt of Participant instructions by the ML TE System shall control the dming
and pricing of the notional investments in the Participant’s Selected Beachmark Rerarn
Options in accordance with the rules of operation of the ML Tf System and its requirements
for placing corresponding investment orders, as if orders to make corresponding havest-
ments were actually to be made, except that in connection with the crediting of Annual
Awards to the Participant's Account and distributions from the Account, appropriate alloca-
tion instructions shall be treated as received from the Participant prior to the close of trans
actions through the ML Tl System on the relevance day. Each Selected Benchmark Return
Option shall be valued using the Net Asset Value of the Selected Benchmark Return Option
as of the relevant day; prowided, that, in valuing a Selected Benchmark Return Option for
which a Net Asset Value is not competed, the value of the security involved for determining
Participants’ rights under the Plan shall be the price reported for actual transactions in that
security through the ML Ii System on the relevant day, without giving effect to any transac-
tion charges or costs associated with such transactions, provided further, that, if there are

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no such transactions effected through the ML II System on the relevant day, the value of the
secutity shall be:

(A) if the security is listed for trading on one or more national securities
exchanges, the average of the high and Jow sale prices for that day on the
principal exchange for such security or if such security is not traded on such
principal exchange on thar day, the average of the high and low sales prices
on such exchange on the first day prior thereto on which such security was
$0 tradect:

CB) if the security is not listed for trading on a national securities exchange but is
traded in the over-the-counter market, the average of the highest and lowest
bid prices for such security on the relevant day; or

(©) if neither chuse (a) nor ds) applies, the value determined by the Administrator
by whatever means he considers appropriate in his sole discretion.

5.3 Statement of Account

For each Fiscal Quarter, each Participant for whom an Account is maintained under the
Plan will receive a statement that reports the value of the Account as of the end of the
Fiscal Quarter.

ARTICLE VI
Forfeiture of Accounts
6.4 Forfeiture for Early Separation

A Participant’s entire Account (incInding any Leverage associated with a ML Ventures
Return Option) shall be forfeited in the event. of the Participant's termination of employ-
ment with the Company for any reason prior to his or her death, Disability or Qualifying
Termination,

6.2 Forfeiture for Competition

(a) Forfeiture Procedure. A Participant's Account Gneluding any Leverage associated
with a ML Ventures Return Option) is subject to forfeiture in the event the Administrator, in
his or her sole discretion, determines that the Participant kas been in Competition with the
Company at any time during the period ending two years after the Participant’s Qualifying
Termination.

(b) Competition Defined. For purposes of Section 6.102), “Conipetition”’ means
the Participant's application for or acceptance of Employment with, or direct of indirect
incucement or recrnitment of any other employee of the Company to apply for ot acecpt
Employment with, any otber person or entity for the purpose of providing or offering to
provide any Related Product or Service to any Client that has a Known Relationship. For
purposes of this Section 6.1(p),

G@) the term “Bveployment” shail include the performance of services as an
employee and as an independent contractor or consultant:

qi) the term “CYeré” means any person or entity to whom the Com pany provides
or fas provided, within due two-year period ending on the date of the
Participants Qualifying Termination, any Related Product or Service:

Giti) The term “Related Product or Service” means (A) with respect to an individual
Chent, ay financial product or service: or (B) with respect to any institutional
clens, any financial product or service provided by the Company to the Client
in the couse of the Known Relationship or any financial product or service
related thereto; and

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(iv) the term “Known Relationship” means a relationship between the Client and the
Company of which the Participant has or had actual knowledge that was acquired
prior to Qualifying Termination, which acquisition occurred (A) as consequence
of the performance by the Participant of responsibilities as an employee of the
Company acting within the scope of his or her employment, or () under
circumstances indicating that the information acquired was non-public.

6.3 Forfeiture for Misconduct

A Participant's entire Account Gnclading any Leverage associated with a ML Ventures
Return Option) is subject to forfeirure in the event the Administrator, in his or her sole
discretion, determines that the Participant has engaged in any misconduct celating to his
or her employment with the Company, including any violation of any law, regulation or
Company policy. In the eveat of any allegation of any such misconduct, any scheduled
payment of the Account Balance will not be made unless and until the Administrator, upon
consultation with the Director of Compliance of MLPF&S or his or her designee or func-
fional successor, bas determined that payment is appropriate under the citcumstunces,

ARTICLE Vil
Status of Awards and Accounts
7.14 No Trust or Fund Created; General Creditor Status

Nothing contained herein and no action taken pursuant hereto will be construed to
obligate the Administrator to invest any assets of ME & Co. in any Selected Benchmark
Return Option, nor to establish a trust or separate fund of any kind or a fiduciary relation:
ship between ML & Co. and a Participant, Participant's Beneficiary or estate, or any other
person or entity. The Administrator may, if it so chooses, earmark any assets of ML & Co. to
meet its obligations hereunder. Title to and beneficial ownership of any funds represented
by the Account will at all times remain in ML & Co., such funds will continue for all
purposes to be a part of the generat funds of ME & Co. and may be used for amy Corporate
purpose. No person will, by virtue of the provisions of this Plan, have any intecest whatso-
ever in any specific assets of the Company, including any such funds. TO THE EXTENT THAT
ANY PERSON ACQUIRES A RIGHT TO RECEIVE PAYMENTS FROM ML & CO. UNDER THIS
PLAN, SUCH RIGHT WILL BE NO GREATER THAN THE RIGHT OF ANY UNSECURED
GENERAL CREDITOR OF ML & CO.

7.2 Non-Assignability

The right of a Participant, or of any other person with reference to the Participant, to
the Account Balance, or any other benefits hereunder, shall be: (a) subject to forfeiture as
explained above; and (b) cannot be assigned, alienated, sold, garnished, transterced, pledged,
of encumbered except by a written designation of Beneficiary under this Phin, by written
will, or by the laws of descent and distribution.

ARTICLE VUE
Payment of Account Balances
8. 1 General Rule

Subject to Article Vi above and Section 8.2 below, the payment of a Participant's
Account hereunder shall be made only upon a Participant’s Qualifying Termination, death or
Disability: (a) in case of Qualifying Termination, in two anituel installments Cor such higher
number of installments, not in excess of nine, as established on a uniform and nondiscrimy
natory basis by the Administrator in his or her sole discretion), the first of which shall be
paid at the cnd of the calendar year in which the Qualifying Termination eccurs Cor if
Qualitying Termination occurs prior to the grant of an Aanual Award, a3 soon as practicable
after such grant) and the remainder of which shall be paid at the end of the subsequent

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calcndar year(s); aad Cb) in case of Disability or death. a Single sum. In the event a
Participant dies prior to the payment of the entire Account, thea the unpaid balance of the
Account will be paid to the Beneficiary in a single sum as scon as practicable following the
‘articipant’s death. In the event that immediately prior to the payment, all or any
portion of a Participant's Account Balance remains indexed to ML Ventures, such
payments will only be made from the Availahle Account Balance (after the Debit
Balance has been reduced to zero) and further payments shall be made only as
distributions are made from ML Vemtures.

8.2 Early Qualifying Fermination

To the event of a Participant's Qualifying Termination before the Participant's 55th
birthday, then:

(a) the Participant’s Available Balance as of the date of such Qualifying Termination
shall be first reduced by 1 per cent for each year. or part thereof, that the
Qualifying Termination occurs before such 55th birthday; and

(b) payment of the Participant's Account shall begin only after the Participant's
$5th birthday.

8.5 Withholding of Taxes

The Company will deduct or withhold from any amounts to be credited to an Account,
or from any payments to be made. hereunder, any federal, state, local igcome or employment
taxes as cequired under applicabic laws to be withheld, ar require the Participant or the
Beneficiary to pay any such amount, or the balance of any such amount,

8.4 Termination of Employment After a Change In Control

(a) Payment Upon Change in Control. Any other provision of this Plan to the
contrary notwithstanding, ia the event that a Change in Control of ML & Co. occurs and
thereafter a Participant’s employment is terminated by the Company without Cause or by
the Participant for Good Reason, the Participant's Available Account Balance will be paid to
the Participant (or to the Participant’s Beneficiary in the event of death) in cash in a single
sum, as promptly as possible after such termination of employment,

(b> Definition of “Change in Control” A “Change ia Control” means a change in
contol of ML & Co. of a nature that would be required to be reported in response to Item
6Ce) of Schedule 1-44 of Regulation tA promulgated under the Securities Exchange Act of
1934, as amended (the “Exchange Act”), whether or not ML & Co. is then subject to such
reporting requirement, provided. however, that, without limitation, a Change in Control
shali be deemed to have occurred if

(any iodividual, partnership, firm, corporation, association, trust, unincorporated
organization or other entity, or any syndicate or group deemed to be a person
under Section 1-4(d)(2) of the Exchange Act, other than ML & Co’s Emplovee
Stock Ownership Plan, is or becomes the “beneficial owner’ (as defined in Rule
L3d-3 of the General Rules and Regulations under the lxchange Act), directly
or indirectly, of securities of ML & Co. representing 36% or more of the com-
bined voting power of ML & Co's then outstanding securities entitled to vote
ui the election of directors of ML & Co; or

ci) during any period of two consecutive years, individuals who at the beginning
of such period constituted the Board of Directors of ML & Co. and any new
directors, whose election by the Board of Directors or nomination for clection
by the stockholders of ML & Co. was approved by a yote of at least 3/4 of the
directors then still in office who either were directors at the beginning of the
period or whose election or nomination for clection was previously so
approved, cease for uny reason to constitute at least a majority thereof: or

Gi) all or substantially all of the assets of ME & Co, are liquidated or distributed.

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(c} Agreement Concerning a Change in Control, If ML & Co, executes an agrec-
ment, the consummation of which would result in the occurrence of the Change in Control
as described in Section 3.4(b), then, with respect to a termination of employment, unless
such termination is by the Company for Cause, or by the Participant other than for Good
Reason, occurring after the execution of such agrcement (and, if soch agreement expires
or is terminated prior to consummation, prior to such expirdition or termination of such
agreement), a Change in Control shall be deemed to have oceutred as of the date of the
execution of such agreement.

(d} Amendments Subsequent to Change in Control In the event of a Change in
Cortrol, no changes in the Plan and no adjustments, determinations of other exercises or
discretion by the Administrator or ML & Co., that were made subsequent to the Change in
Control and that would have the effect of diminishing a Participant's rights or payments
under the Plan, or of causing the Participant to recognize income (for federal income tax
purposes) with respect to the Participant’s Account Balance prior to the actual distribution
in cash to a Participant of such Account Balance, shall be effective.

(e} Cause, Termination of a Participant's employment by the Company for “Cause”
shall mean termination upom

@ the Pacticipant’s willful and continued failure substantially to perform the
Participant's duties with the Company Cother than any such failure resulting
from the Participant's incapacity duc to physical or mental itness or sy such
actual or anticipared failure resulting from termination by the Participant for
Good Reason) after a written demand for substantial performance is delivered
to the Participant by Advisory Division Management, which demand specifically
identifies the manner in which Advisory Division Management believes that the
Participant has not. substantially performed his or her duties; or

Gi) the willful engaging by the Participant in conduct which is demonstrably and
materially injurious to the Company, monetarily or otherwise,

No act or failure to act by the Participant shall be deemed “willful” unless done, or
omitted to be done, by the Participant not in good faith and without reasonable belief that
this action or omission was in the best interest of the Company.

Notwithstanding the foregoing, a Participant shall not be deemed to have been termi-
mated for Cause unless and until there shail have been delivered to the Participant 8 copy
ofa written finding by Advisory Division Management (issued after reasonable notice to the
Participant and an opportunity for the Participant, together with counsel, to be heard), that,
in the good faith opinion of Advisory Division Management, the Participant was guilty of
conduct set forth above in clause () or (iD of the first sentence of this Section 8.4(e) and
specifying the particulars thereof in detail.

(4) “Good Reason” shall mean a Participant's termination of his or her employment
with the Company if, without the Participant's written consent, any of the following
circumstances shall occur:

@ > ameaningfid and detrimental alteration in the Participant’s position, or in
the nature or status of the Participant's responsibilities from those in effect
immediately prior to the Change in Control,

Gi) a reduction by the Company of the Participant's base salary as in effect just
prior to the Change in Control,

(ii) the relocation of the office of the Company where the Participant was
employed at the time of the Change in Control (the “CIC Location”) to a
location more than fifty miles away from the CIC Location (except for required
travel on the Company's business fo «n extent substantially consistent with the
Participant’s business travel obligations just prior to the Change in ControLy

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civ) the failure of the Company to continue in effect any benefit or compensation
plan, meclauding, but not limited to, this Plan, the Company's retirement pro-
gram, or the Company’s Long-Term Incentive Compensation Plan, Employee
Stock Purchase. Phin, 1978 Incentive Equity Purchase Plan, cash incentive
compensation or other plans adopted prior to the Change in Control, in which
the Participant is participating at the time of the Change in Control, unless an
equitable arrangement (embodied in an ongoing substitute or alternative plan)
has been made with respeet to such plan in connection with the Change in
Coatrot, ot the faihire by the Company to continue the Participant's participa-
tion therein on at least as favorable a basis, in terms of beth the amount of
benefits provided and the level of the Participant's participation relative to
other participants, as existed at the time of the Change in Control: or

(v) the failure of the Company to continue to provide the Participant with benefits
at icust as favorable as those enjoyed by the Participant under any of the
Company's pension, life insurance, medical, health and accident disability,
deferred compensation or savings plans in which the Participant was partici-
pating at the. time of the Change in Control, the taking of any action by the
Company which would directly or indirectly materially reduce any of such
benefits or deprive the Participant of any material fringe: benetit enjoyed by the
Participant at the time of the Change in Control, or the faihire by the Company
to provide accordance with the Companys normal vacation policy in effect at
the time of the Change in Controt.

3.5 Payment on Behalf of Incompctents

If, in his or her sole discretion, the Administrator finds that any person who is enticed
to receive any payment hereunder is a minor or is unable to care for his or her affairs
because of disability or incompetence, payment of the Available Balance may be made to
anyone found by the Administrator to be the cammittec or other authorized representative
of such person, or to be otherwise entitled to such payment, in the manner and under the
conditions that the Administrator determines. Such payment will be 2 complete discharge
of the Habiities of the Company hereunder with respect to the amount so paid,

ARTICLE TX.
Beneficiary
9.1 Designation of Beneficiary

A Participant may designate, in a writing delivered to the Administrator or his or her
designee before the Participant's death, a Beneficiary to reccive payments in the event of
the Participant’s death. The Participant may also designate a contingent Beneficiary to
receive payments in accordance with this Plan if the primary Beneficiary does not survive
the Participant. The Participant may designate more than one person as the Beneficiary
of contingent Beneficiary, in which case G} no contingent Beneficiary would receive
any payment unless all of the primary beneficiaries predeceased the Participant: and
Gi) the surviving beneficiaries in any class shall share in any payments in proportion to
the percentages of interest assigned to them by the Participant. If the Participant dics
without a surviving Beneficiary, the Participant's estate will be considered the Beneficiary.

9.2 Change of Beneficiary

A Participant may change the Beneficiary ot contingent Beneficiary Owithout the
consent of any prior Beneficiary) in a writing delivered to the Administrator or his or her
designee before the Participant’s death. Uniess otherwise stated in writing, any chagge in
Beneficiary or contingent Beneficiary designation will automatically revoke prior such
desigmations, as ipplicable, under this Man.

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9.3 Beneficiary Death After Commencement of Payments

If after a Participant’s death, a Beneficiary entitled to receive, or actually receiving.
payments hereunder dies before receiving full payment, the Account Balance to which
the Beneficiary was entitled will be paid as soon as practicable in one lump sum to such
primary Beneficiary’s estate.

ARTICLE X
Amendment and Termination
10.1 Reservation of Rights

ML & Co., through the Aciministrator, reserves the right to amend or terminate this Plan
in whole or in part, at any time for any reason; provided, however, that no such action
shall reduce a Participant’s Account Balance as of the effective date of (hat action, or
otherwise deprive the Participant or a Beneficiary of any entitlement thercto.

ARTICLE XI
Administration of the Plan
18.1 Powers Of The Administrator

The Administrator has full power, discretion ancl authority to mterpret, construc, and
administer this Plan so as to ensure that it provides deferred compensation to Participants
who are members of a select group of management or highly compensated employees
within the meaning of Title I of ERISA. The Administrator's interpretations and construction
hereof, and actions hereunder, including any determinations regarding the amount or
recipient of any payments, will be binding and conclusive on all persons for all purposes.
The Administrator will not be liable to any person for any action taken or omitted in con-
nection with the interpretation and administration of this Plan untess attrébutable to willful
misconduct or lack of good faith. The Administrator may designate persons to carry out the
specified responsibilities of the Administrator and shall not be liable for any act or omission
of a persoa as designated.

411.2 Claims Procedure

(a) Initial Claim. An application for payments wader this Phin shall be in a form
acceptable to, and in compliance with all required information as deemed necessary
by, the Administrator. If en application for payments is denied, in whole or in pact, the
Administrator shall promptly give the applicant written notice of the deuial, setting forth
the specific reasons therefor. The notice shall include the following:

i} Fhe busis for the denial:

Gi) A reference to the appropriate provisions of the Plan on which the densi is
based:

GiD A description of amy additional information required of the applicant; and

Gv) An explanation of the procedure for having a denied application reviewed
under this Plan.

(b) Appeal Procedure. The applicant may, upon receipt of a notice of denial, request
a review of the application by the Administrator Such request shall be delivered in writing
to the Administrator. Afer the Administrator has reviewed the application, the final decision
shall be communicated in writing to the applicant. Such communication shall set focth the
specific reasons for the decision with reference to the appropriate provisions of the Plan.

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ARTICLE Xt
Miscellaneous Provisions
‘12.1 Books and Records Controlling

The books and records of the Company will be controlling in the event a question
arises hereunder conceming the amount of Production Credits, Eligible Cormpensation,
Annual Awards, Accounts, designations of Beneficiarydes), ot any similar matters,

12.2 Successors and Assigns

The provisions of this Plan will be binding upon and inute to the benefit of rhe Company
and its successors and assigns, the Participants and their designated BeneficlaryGies), and their
respective heirs, executors, administrators, and legal representatives.

22.3 Severability

Tfany provision of this Plan, or the application thereof, shall for any reason be invatic
or unenforceable, such provision shall be limited only to the extent necessary in the
circumstances to make it valid and enforceable. In any event, the remaining provisions
of this Phin will continue in full force and effect.

12.4 Litigation

The Company shall have the cighe to contest, at its expense, any ruling or decision,
udmministrative or judicial, on an issue that is related to the Plan and that the Administrator
believes to be important to the Participants, and to conduct any stich contest of any
htigation arising therefrom to a final decision.

12.5 Headings Are Not Controlling

The heacings contained in this Plan are for convenience only and will not control or
affect the meaning or construction of any of the terms or provisions of this Plan.

12.8 Governing Law

This Plan will be construed in accordance with and governed by the laws of the State
of New York, to the extent not preempted by ERISA ot any other federal haw, as to all
matters, including, but not Hmited to, matters of validity, construction, and performance.

 
 

 

Notes

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